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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                     SHREVEPORT DIVISION


UNITED STATES OF AMERICA                                   CASE NOS. 5:11-CR-00015-02
                                                                     5:11-CR-00163-02
                                                                     5:16-CV-00902
                                                                     5:16-CV-00903

VERSUS                                                     JUDGE DONALD E. WALTER

KEVIN NELL BROWN (02)                                      MAGISTRATE JUDGE HORNSBY



                                  MEMORANDUM RULING & ORDER

           Before the Court is a Motion to Vacate, Set Aside, or Correct Sentence [Doc. #70, in

Docket No. 5:11-cr-00015-DEW-MLH-2; Doc. #26, in Docket No. 5:11-cr-00163-DEW-MLH-

2], pursuant to 28 U.S.C. § 2255, filed by Defendant-Petitioner Kevin Nell Brown (02). 1 For the

following reasons, the motion is DENIED.

                                                BACKGROUND

           On January 26, 2011, a federal grand jury in the Western District of Louisiana (WDLA)

charged Defendant Brown with one count of conspiracy, in violation of 18 U.S.C. § 371 (Count

1), and two counts of bank robbery by force, violence, or intimidation, in violation of 18 U.S.C.

§ 2113(a) and (d) (Counts 2 and 3). [Doc. #1, in Docket No. 5:11-cr-00015-DEW-MLH-2]. On

March 2, 2011, Defendant Brown was also charged by a federal grand jury in the Eastern District

of Texas (EDTX) with two counts of bank robbery by force, violence, or intimidation, in

violation of 18 U.S.C. § 2113(a) (Counts 1 and 3), and two counts of possession of a firearm

during a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and 2 (Counts 2 and 4).



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    This memorandum ruling and order applies with equal force to the motions docketed in each case.
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[Doc. #2-2, in Docket No. 5:11-cr-00163-DEW-MLH-2]. The EDTX charges were then

transferred to this district, on June 27, 2011. [Doc. #2, in Docket No. 5:11-cr-00163-DEW-

MLH-2].

       On July 6, 2011, Defendant Brown pled guilty to Count 2 of the WDLA indictment and

Counts 1, 2, and 3 of the EDTX indictment. [Docs. ##45 and 48, in Docket No. 5:11-cr-00015-

DEW-MLH-2; Docs. ##4 and 8, in Docket No. 5:11-cr-00163-DEW-MLH-2]. In support

thereof, Defendant Brown and the Government stipulated to the following factual basis:

       KEVIN NELL BROWN and co-defendant Dwayne Naycon Hooks committed a
       string of armed bank robberies in the [WDLA] and the [EDTX]. BROWN did not
       participate in the robbery of Capital One Bank in Grand Cane, Louisiana, which
       Hooks committed by himself. All of the banks robbed were insured by FDIC.

       Each robbery was committed while the banks were open for business. Hooks and
       BROWN forced bank employees to provide cash from their drawers. On several
       occasions, BROWN crossed the teller counter and took the money from the
       drawers. In all but the Grand Cane robbery, Hooks and BROWN then forced a
       bank employee to provide keys to the employee’s vehicle which was then used as
       a get-a-way car. All of the cars were recovered without damage.

       In every robbery, Hooks possessed a firearm. On two occasions, Hooks
       discharged a firearm inside the bank, although nobody was physically injured. A
       G.A.I. pistol, cal: 9mm, model: PA63, SN: ANO528 with ammunition was
       recovered at the time of the arrest of Hooks and BROWN.

       The following chart summarizes the robberies BROWN participated in:

 Date                    Location                Bank                    Amount Stolen
 10/15/2010              Shreveport, LA          Red River Bank          $16,395.00
 11/03/2010              Joaquin, TX             Texas State Bank        $32,267.00
 12/02/2010              Haslam, TX              Texas State Bank        $14,307.00
 01/05/2011              Pleasant Hill, LA       Peoples State Bank      $25,545.00


       The $24,545.00 stolen from Peoples State Bank in Pleasant Hill was recovered
       upon the arrest of BROWN and Hooks. The remaining money was not recovered.
       Therefore, the total intended loss amount for BROWN is $41,940.00 (Louisiana)
       plus $46,574.00 (Texas) for a total loss amount of $88,514.00. The total
       restitution amount for BROWN is $16,395.00 (Louisiana) and $46,574.00 (Texas)
       for a total restitution amount of $62,969.00.
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[Doc. #48-2, in Docket No. 5:11-cr-00015-DEW-MLH-2; Doc. #8-2, in Docket No. 5:11-cr-

00163-DEW-MLH-2].

       On October 28, 2011, this Court sentenced Defendant Brown to a term of imprisonment

of 80 months, as to Count 2 of the WDLA indictment and Counts 1 and 3 of the EDTX

indictment, followed by a consecutive term of imprisonment of 60 months as to Count 2 of the

EDTX indictment. [Doc. #55, in Docket No. 5:11-cr-00015-DEW-MLH-2; Doc. #13, in Docket

No. 5:11-cr-00163-DEW-MLH-2]. Defendant Brown’s total term of imprisonment was therefore

140 months, followed by supervised release for terms of five (5) years as to Count 2 of the

WDLA indictment and Count 2 of the EDTX indictment, and three (3) years as to Counts 1 and

3 of the EDTX indictment, all terms to run concurrently. Id. Restitution was ordered in the total

amount of $62,969.00, to be paid joint and several with a co-defendant. [Doc. #59, in Docket No.

5:11-cr-00015-DEW-MLH-2; Doc. #15, in Docket No. 5:11-cr-00163-DEW-MLH-2]. No appeal

was filed.

       The instant motion was filed on June 23, 2016. Defendant Brown argues that Count 2 of

the EDTX indictment is subject to dismissal, based on the Supreme Court’s decision in Johnson

v. United States, 576 U.S. ___, 135 S.Ct. 2551 (2015), which held that the residual clause of the

Armed Career Criminal Act of 1984 (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), is unconstitutional

under the void-for-vagueness doctrine. In Welch v. United States, ___ U.S. ___, 136 S.Ct. 1257

(2016), the Supreme Court established that Johnson is a substantive decision that is retroactive in

cases on collateral review. Defendant Brown asserts that Johnson “calls into question” his

conviction by guilty plea to “the offense of bank robbery and the enhancement for the use of

firearm conviction in relation to the bank robbery[.]” [Doc. #70-1, p. 3, in Docket No. 5:11-cr-

00015-DEW-MLH-2; Doc. #26-1, p. 3, in Docket No. 5:11-cr-00163-DEW-MLH-2].
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Essentially, Defendant Brown asks this Court to find that, pursuant to Johnson, the “crime of

violence” language found in 18 U.S.C. § 924(c)(1)(A) is unconstitutional under the void-for-

vagueness doctrine. 2

                                              LAW & ANALYSIS

         Under 28 U.S.C. § 2255, a prisoner may move to vacate, set aside, or correct a sentence

imposed by a federal court when: (1) “the sentence was imposed in violation of the Constitution

or laws of the United States[;]” (2) “the court was without jurisdiction to impose such

sentence[;]” (3) “the sentence was in excess of the maximum authorized by law[;]” or (4) the

sentence “is otherwise subject to collateral attack[.]” 28 U.S.C. § 2255(a); United States v.

Scruggs, 691 F.3d 660, 666 (5th Cir. 2012). “Relief under 28 U.S.C. § 2255 is reserved for

transgressions of constitutional rights and for a narrow range of injuries that could not have been

raised on direct appeal and would, if condoned, result in a complete miscarriage of justice.”

United States v. Young, 77 F. App’x 708, 709 (5th Cir. 2003) (citation omitted).

         Section 2255 “establishes a ‘1-year period of limitation’ within which a federal prisoner

may file a motion to vacate, set aside, or correct his sentence under that section.” Dodd v. United

States, 545 U.S. 353, 354 (2005) (quoting 28 U.S.C. § 2255(f)). Defendant Brown is proceeding

under 28 U.S.C. § 2255(f)(3), pursuant to which the 1-year period of limitation shall run from

“the date on which the right asserted was initially recognized by the Supreme Court, if that right

has been newly recognized by the Supreme Court and made retroactively applicable to cases on




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  Although Defendant Brown also references 18 U.S.C. § 16(b), neither that statute nor the cases cited in relation
thereto have any relevant application to the instant motion or the issue before the Court; therefore, no further
discussion thereof is warranted. [see Doc. #70-1, p. 5, in Docket No. 5:11-cr-00015-DEW-MLH-2; Doc. #26-1, p. 5,
in Docket No. 5:11-cr-00163-DEW-MLH-2]; see also United States v. Gonzalez-Longoria, 831 F.3d 670 (5th Cir.
2016) (18 U.S.C. § 16’s statutory definition of “crime of violence” is neither unconstitutionally vague on its face nor
as applied therein), petition for cert. filed (U.S. Sept. 30, 2016) (No. 16-6259).
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collateral review[.]” 28 U.S.C. § 2255(f)(3). As explained, the instant motion purports to rely

upon the Supreme Court’s June 26, 2015, decision in Johnson, made retroactive in Welch.

        Welch explained that the ACCA defines “violent felony” as

        any crime punishable by imprisonment for a term exceeding one year . . . that—

        (i) has as an element the use, attempted use, or threatened use of physical force
        against the person of another; or

        (ii) is burglary, arson, or extortion, involves use of explosives, or otherwise
        involves conduct that presents a serious potential risk of physical injury to
        another[.]

Welch, 136 S.Ct. at 1261 (quoting 18 U.S.C. § 924(e)(2)(B)). “Subsection (i) of this definition is

known as the elements clause. The end of subsection (ii)—‘or otherwise involves conduct that

presents a serious potential risk of physical injury to another’—is known as the residual clause.”

Id. (citing Johnson, 135 S.Ct. at 2555–2556). Importantly, Johnson invalidated the ACCA’s

residual clause, 18 U.S.C. § 924(e)(2)(B)(ii), and explicitly did “not call into question application

of the Act to the four enumerated offenses, or the remainder of the Act’s definition of a violent

felony.” Johnson, 135 S.Ct. at 2563. Based on that limitation, Welch left open the possibility

that, on remand, Welch’s conviction may still qualify “as a violent felony under the elements

clause of the Act, which would make Welch eligible for a 15–year sentence regardless of

Johnson.” 136 S.Ct. at 1268. Defendant Brown’s motion fails to recognize the distinction

between the two clauses, Johnson’s relative effects, and the applicability and/or lack thereof to

the instant case.

        As to the elements clause, the definition of “violent felony” under the ACCA and “crime

of violence” under § 924(c) are identical and encompass any offense that is a felony and “has as

an element the use, attempted use, or threatened use of physical force against the person or

property of another[.]” 18 U.S.C. §§ 924(c)(3)(A) and (e)(2)(B)(i).
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       Here, the offense of conviction under attack is that which was charged in Count 2 of the

EDTX indictment, for possession of a firearm during a crime of violence, in violation of 18

U.S.C. §§ 924(c)(1)(A)(i) and 2. [Doc. #2-2, Docket No. 5:11-cr-00163-DEW-MLH-2]. The

specific crime of violence was “bank robbery, as alleged in Count One[,]” which was specifically

alleged to be “by force, violence, and intimidation[,]” in violation of 18 U.S.C. § 2113(a). Id.

Section 2113(a) describes two separate crimes, as follows:

       Whoever, by force and violence, or by intimidation, takes, or attempts to take,
       from the person or presence of another, or obtains or attempts to obtain by
       extortion any property or money or any other thing of value belonging to, or in the
       care, custody, control, management, or possession of, any bank . . .; or

       Whoever enters or attempts to enter any bank . . . or any building used in whole or
       in part as a bank . . . with intent to commit in such bank . . . or building, or part
       thereof, so used, any felony affecting such bank . . . and in violation of any statute
       of the United States, or any larceny—

       Shall be fined under this title or imprisoned not more than twenty years, or both.

18 U.S.C. § 2113(a). Defendant Brown was charged with violating the first paragraph.

       “In order to prove a violation of 18 U.S.C. § 2113(a), the Government must prove: (1) an

individual or individuals (2) used force and violence or intimidation (3) to take or attempt to take

(4) from the person or presence of another (5) money, property, or anything of value (6)

belonging to or in the care, custody, control, management, or possession (7) of a bank[.]” United

States v. Bellew, 369 F.3d 450, 454 (5th Cir. 2004) (quoting United States v. McCarty, 36 F.3d

1349, 1357 (5th Cir. 1994)). Based on the elements of the relevant offense of conviction,

Defendant Brown was charged with and convicted of a “crime of violence” under §

924(c)(3)(A). Because § 924(c)(3)(A) applies to Defendant Brown’s conviction for bank robbery

under § 2113(a), and § 924(c)(3)(A) was not rendered invalid under Johnson, Defendant

Brown’s conviction is likewise unaffected by Johnson. See Royal v. Tombone, 141 F.3d 596, 601
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(5th Cir. 1998) (per curiam); see also United States v. McNeal, 818 F.3d 141, 152 n.8 (4th Cir.

2016) (“Because § 2113(a) bank robbery satisfies the § 924(c)(3) force clause, we do not

consider whether Johnson renders the § 924(c)(3) residual clause unconstitutionally vague.”).

Accordingly, Defendant Brown is not entitled to the relief requested in the instant motion.

                                        CONCLUSION

       For the foregoing reasons, the Motion to Vacate, Set Aside, or Correct Sentence [Doc.

#70, in Docket No. 5:11-cr-00015-DEW-MLH-2; Doc. #26, in Docket No. 5:11-cr-00163-DEW-

MLH-2], pursuant to 28 U.S.C. § 2255, filed by Defendant-Petitioner Kevin Nell Brown (02) is

hereby DENIED AND DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that a certificate of appealability is DENIED for failure

to make a substantial showing of the denial of a constitutional right, as required under 28 U.S.C.

2253(c)(2).

       THUS DONE AND SIGNED in Shreveport, Louisiana, this 26th day of March, 2018.
